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                                                                                                 E-FILED
                                                                    Friday, 24 March, 2017 11:04:25 AM
                                                                          Clerk, U.S. District Court, ILCD

                               UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF ILLINOIS, PEORIA DIVISION


                       UNITED STATES DISTRICT COURT
                 CENTRAL DISTRICT OF ILLINOIS, PEORIA DIVISION


 NICHOLAS BLETTE,

                       Plaintiff,

 v.

 EDDIE TAYLOR, individually, and as agent servant
 and/or employee of UNITED VAN LINES, LLC.,
 UNITED VAN LINES, LLC.

                        Defendants,                       No. 17-cv-1040

 CASSENS TRANSPORT COMPANY,

                      Intervening Petitioner,

 v.

 EDDIE TAYLOR, individually, and as agent servant
 and/or employee of UNITED VAN LINES, LLC.,
 UNITED VAN LINES, LLC.

                      Respondents.


                               COMPLAINT IN INTERVENTION
        NOW COMES, Cassens Transport Company, by and through its attorneys Gibson Kolb

PLC, and complains of Eddie Taylor, individually, and as agent, servant, and/or EMPLOYEE

OF United Van Lines, LLC and United Van Lines, LLC, as follows:

        1.      That jurisdiction of the court attaches under the provisions of 28 U.S.C. § 1332 in

that the amount in controversy exceeds, exclusive of interest and costs, the sum of $75,000.00

and the parties are citizens of different states.
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       2. At the time of the incident, Nicholas Blette was a resident of the State of Illinois.

       3. Defendant, Eddie Taylor, is a resident of the State of Missouri.

       4. Defendant, United Van Lines, LLC is a corporation organized under the laws of the
State of Missouri.
       5.      Cassens Transport Company is an Illinois corporation.

                                             COUNT I

       6.      On or about January 9, 2015, Plaintiff Nicholas Blette (“Blette”) was the operator

of a truck tractor, traveling in a generally southbound direction on Interstate 39, near milepost

29, in the township of Minonk, County of Woodford, State of Illinois. At such time and place, he

was in the course and scope of his employment with Cassens Transport Company.

       7.      At the foresaid time and place, Defendant, Eddie Taylor was the operator of a

truck tractor traveling in a generally northbound direction on Interstate 39, near milepost 29 in

the Township of Minonk, County of Woodford, and State of Illinois.

       8.      At the foresaid time and place, Eddie Taylor lost control of his truck tractor, slid

though the center median and veered across the southbound lanes of Interstate 39, resulting in a

collision with vehicle operated by Blette.

       9.      At said time and place, Eddie Taylor had the duty to operate said truck tractor in a

reasonably safe manner and to exercise ordinary care and caution so as not to cause injury to

others, including Blette.

       10.     Notwithstanding the aforementioned duty, Eddie Taylor, then and there

committed one or more of the following careless and negligent acts and/or omissions:

               a. Carelessly and negligently operated said motor vehicle;
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               b. Failed to exercise that degree of care and caution that a reasonable person
                  under similar circumstances would have exercised in the operation of their
                  said motor vehicle;

               c. Failed to yield the right of way to another vehicle, specifically Blette’s;

               d. Failed to keep an adequate lookout during the operation of said motor vehicle;

               e. Failed to decrease the speed of his vehicle in order to avoid colliding with
                  another vehicle;

               f. Failed to change the course of said motor vehicle so as to avoid striking
                  Blette’s vehicle;


               g. Failed to give audible warning with his horn, when such warning was
                  reasonable and necessary;

               h. Failed to decrease speed when special hazards existed by reason of weather;

               i. Proceeded at a speed which was greater than reasonable and proper with
                  regard to traffic conditions and the use of the highway or which endangered
                  the safety of persons or property, in violation of Illinois Compiled Statutes ,
                  2008, Chapter 625, Section 5/11-601(a);

               j. Failed to drive as nearly as practicable entirely within a single lane or move
                  from a lane of traffic without first ascertaining that such movement could be
                  made safely, in violation of Illinois Compiled Statutes, 2008, Chapter 625,
                  Section 5/11-709(a);

               k. Otherwise carelessly, negligently, and improperly, drove and operated the
                  subject vehicle.

       11.     That one or more of the aforesaid negligent acts or omissions of the Eddie Taylor

was a proximate cause of the collision and the serious personal injuries sustained by Blette.

       12.     As a result of said injuries, Blette made a claim for workers compensation

benefits and has received such benefits from Cassens Transport Company in an amount not less

than $179,448.54 and such amounts may increase.
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        13.     Pursuant to 820 ILCS 305/5(b), Cassens Transport Company is entitled to a lien

and reimbursement from Defendants to the extent of the workers compensation benefits it has

expended and will expend due to Blette’s injuries.

        WHEREFORE, Cassens Transport Company prays for judgment in its favor against

Eddie Taylor to the extent of the workers compensation benefits expended and to be expended as

related to Blette’s injuries and for enforcement of its lien on any recovery obtained by Blette for

injuries sustained, and costs of suit.

                                            COUNT II

        NOW COMES, Cassens Transport Company, by and through its attorneys Gibson Kolb

PLC, and complains of Eddie Taylor, individually, and as agent, servant, and/or EMPLOYEE

OF United Van Lines, LLC and United Van Lines, LLC, as follows:

        14. Cassens reasserts paragraphs 1-13 as if fully set forth here.

        15. At the aforementioned time and place, Eddie Taylor, operated said motor vehicle as,

and in the capacity of, agent, servant and/or employee of Defendant, United Van Lines, LLC.

        16. At the aforesaid time and place, Defendant United Van Lines, LLC by and through

its agent, servant, and/or employee, Eddie Taylor, had a duty to operate said motor vehicle in a

reasonable manner and exercise ordinary care and caution so as not to cause injury to others,

specifically the Plaintiff.

        17. Notwithstanding the aforementioned duty, Defendant United Van Lines, LLC by and

through its agent, Eddie Taylor, then and there committed one or more of the following careless

and negligent acts and/or omissions:

                a. Carelessly and negligently operated said motor vehicle;
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               b. Failed to exercise that degree of care and caution that a reasonable person
                  under similar circumstances would have exercised in the operation of their
                  said motor vehicle;

               c. Failed to yield the right of way to another vehicle, specifically Blette’s;

               d. Failed to keep an adequate lookout during the operation of said motor vehicle;

               e. Failed to decrease the speed of his vehicle in order to avoid colliding with
                  another vehicle;

               f. Failed to change the course of said motor vehicle so as to avoid striking
                  Blette’s vehicle;


               g. Failed to give audible warning with his horn, when such warning was

                   reasonable and necessary;

               h. Failed to decrease speed when special hazards existed by reason of weather;

               i. Proceeded at a speed which was greater than reasonable and proper with
                  regard to traffic conditions and the use of the highway or which endangered
                  the safety of persons or property, in violation of Illinois Compiled Statutes ,
                  2008, Chapter 625, Section 5/11-601(a);

               j. Failed to drive as nearly as practicable entirely within a single lane or move
                  from a lane of traffic without first ascertaining that such movement could be
                  made safely, in violation of Illinois Compiled Statutes, 2008, Chapter 625,
                  Section 5/11-709(a);
               k. Otherwise carelessly, negligently, and improperly, drove and operated the
                  subject vehicle.

       18.     That one or more of the aforesaid careless acts and/or omissions of the Defendant

was a proximate cause of the collision and the personal injuries sustained by Blette.

       19.     As a result of said injuries, Blette made a claim for workers compensation

benefits and has received such benefits from Cassens Transport Company in an amount not less

than $179,448.54 and such amounts may increase.
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        20.      Pursuant to 820 ILCS 305/5(b), Cassens Transport Company is entitled to a lien

and reimbursement from Defendants to the extent of the workers compensation benefits it has

expended and will expend due to Blette’s injuries.

              WHEREFORE, Cassens Transport Company prays for judgment in its favor against

Eddie Taylor to the extent of the workers compensation benefits expended and to be expended as

related to Blette’s injuries and for enforcement of its lien on any recovery obtained by Blette for

injuries sustained, and costs of suit.

                                                     Respectfully submitted,

                                                     CASSENS TRANSPORT COMPANY

                                                      /s/ Bradley M. Arnold
                                                       One of its attorneys

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